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                                 UNITED STATES DISTRICT COURT
                                  MIDDLE DISTRICT OF FLORIDA
                                      ORLANDO DIVISION

MARY THOMAS,

   Plaintiff,

-vs-                                                   CASE NO.: 6:17-CV-629-ORL-31-DCI

CREDIT ONE BANK, N.A.,

   Defendant.
                                         /

                               NOTICE OF PENDING SETTLEMENT

        Plaintiff, Mary Thomas, by and through the undersigned counsel, hereby notifies the Court that

the parties have reached a settlement with regard to this case and are presently drafting and finalizing the

settlement agreement, and general release or documents. Upon execution of the same, the parties will file

the appropriate dismissal documents with the Court.

                                     CERTIFICATE OF SERVICE

        I hereby certify that on November 15, 2017, I electronically filed the foregoing with the Clerk of

the Court by using the CM/ECF system and that a Notice of this filing will be sent to the following by

operation of the Court’s Electronic Filing System Dayle M. Van Hoose, Esquire and Jocelyn C. Smith,

Esquire, Sessions, Fishman, Nathan & Israel, L.L.P., 3350 Buschwood Park Drive, Suite 195, Tampa, FL

33618 (dvanhoose@sessions.legal and jsmith@sessions.legal).

                                                   /s/Frank H. Kerney, III, Esquire
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